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     UNITED STATES DISTRICT COURT                                                                  MAY 202025
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     WESTERN DISTRICT OF TEXAS                                                                WESTEAN DI     I   OF   EXAS

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     SAN ANTONIO DIVISION
     MARK ANTHONY ORTEGA,
     Plaintiff,

    V.



    SECURE ONE CAPITAL CORPORATION.
    BRUCE MICHAEL EDGELL, and
    RYAN WILLIAM MARIER,
    Defendants.

    Case No. 5:24-CV-00519-OLG-HJB


    DEFENDANT BRUCE MICHAEL EDGELLS MOTION TO DISMISS PLAINTIFF'S
    FIRST AMENDED COMPLAINT
    Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Bruce Michael
    Edgell respectfully moves this Court to dismiss all claims asserted against him by Plaintiff
    Mark Anthony Ortega in the First Amended Complaint

    I. INTRODUCTION


    Plaintiff improperly names Mr. Edgell in his personal capacity for alleged violations of the
    Telephone Consumer Protection Act (RTCPA) and related Texas statutes. The Qnly specific
    factual allegation made against Mr. Edgell is that he left a voicemail on December 19, 2023,
    identifying himself as a branch manager with Secure One Capital and offering debt
    consolidation services.

    Mr. Edgell is not alleged to have designed the telemarketing campaign, managed call
    compliance systems, or knowingly contacted a phone number on the National Do Not Call
    Registry. The single voicemail described does not, by itself, constitute willful or knowing
    participation in unlawful telemarketing under the TCPA.

    11. LEGAL STANDARD



    To survive a motion to dismiss under Rule 12(b)(6), a complaint must allege sufficient
    factual matter to state a claim that is plausible on its face. Conclusory allegations and legal
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conclusions unsupported by facts are insufficient. See Ashcroftv. lqbal, 556 U.S. 662,678
(2009).

 lii. A1GUMNT

A. No Plausible Claim of Personal Liability Against Edgell


The TCPA imposes Liability on individuals who "initiate" or wknowingly authorize" illegal
calls. Plaintiff does not allege that Mr. Edgell compiled lead lists, managed compliance, or
had knowledge that the call recipient was on the National Do Not Call Registry. Courts have
repeatedly held that individual employees acting within the scope of their employment
cannot be held personally liable under the TCPA absent allegations of personal direction or
knowing violations. See Jackson v. Caribbean Cruise Line, Inc., 88 F. Supp. 3d 129 (E.D.N.Y.
201S).

B. Edgell Acted Within Scope of Employment and in Good Faith


Mr. Edgell's voicemail was part of a routine job duty, using systems and scripts established
by the company. He reasonably relied on the company's internal policies, which were
intended to comply with federal law. There is no factual basis to suggest he acted outside
his employment scope or knowingly violated any statute.

C. Edgell Has No Ownership or Connection to Texas


Mr. Edgell is not and has never been an owner of Secure One Capital. He resides in
California, does not own property in Texas, holds no assets there, and has never traveled to
or conducted personal activity in Texas. These facts underscore the absence of personal
jurisdiction and reinforce the lack of any factual basis for individual liability.

IV. CONCLUSION


For the foregoing reasons, Defendant Bruce Michael Edgell respectfully requests that the
Court dismiss all claims asserted against him in Plaintiff's First Amended Complaint, with
prejudice.

Respectfully submitted,



Bruce Michael Edgell, Pro Se

Address: [203 11th Street Huntington Beach CA 926481
Email: [Bedgelll@yahoo.com} Phone: [949-873-0783)
Date: [5/19/2025}
Case 5:24-cv-00519-OLG-HJB             Document 30        Filed 05/20/25       Page 3 of 8




CERTiFICATE OF SERVICE
 hereby certify that on [5/19/2025], I served a true and correct copy of the foregoing
 1


Motion to Dismiss by United States Mail and/or via the CM/ECF system upon:

Mark Anthony Ortega
P0 Box 702099
San Antonio, TX 78270
Email: mortega@utexas.edu



Bruce MtchTael Edgell
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 SAN ANTONIO DIVISION
 MARK ANTHONY ORTEGA.
 Plaintiff,

 V.



SECURE ONE CAPITAL CORPORATION,
BRUCE MICHAEL EDGELL
and
RYAN WILLIAM MARIER,
Defendants.

Case No. 5:24-CV-00519-OLG-HJB


DEFENDANT RYAN WILLIAM MARIER'S MOTION TO DISMISS PLAINTiFF'S
FIRST AMENDED COMPLAINT
Pursuant to Rules 12(b)(2) and 12(b)(6) of the Federal Rules of Civil Procedure, Defendant
Ryan William Marier (Defendant Marier") respectfully moves this Court to dismiss all
claims asserted against him by Plaintiff Mark Anthony Ortega ("Plaintiff') in the First
Amended Complaint

L INTRODUCTION
Plaintiff has improperly named Ryan Mailer in his individual capacity for alleged violations
of the Telephone Consumer Protection Act ("TCPA") and related Texas statutes without
alleging any facts showing personal participation or knowing authorization of the
challenged conduct. The claims against Mr. Mailer are conclusory, unsupported by specific
facts, and are an improper attempt to impose individual liability based solely on his role as
an officer of Secure One Capital Corporation.

II. FACTUAL BACKGROUND
The First Amended Complaint asserts that Defendant Mailer was the COO/CFO of Secure
One Capital and had general responsibilities involving marketing and business
development. Plaintiff does not allege that Mr. Mailer personally made any telephone calls,
selected call recipients, or had any specific knowledge of the Plaintiffs phone number being
on the National Do Not Call Registry. Plaintiff merely references a Linkedin profile to claim
Mr. Mailer was "directly involved' in marketing operations.
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 The Complaint includes no factual allegations establishing that Mr. Marier directed,
 authorized, or knowingly ratified the specific calls at issue. Rather, the allegations confirm
 the calls were made by or on behalf of Secure One Capital, and that a voicemail was left by
 another employee, Bruce Edgell.

 III. LEGAL STANDARD
 To survive a motion to dismiss under Rule 12(b)(6), a complaint must state a claim that is
 plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A plaintiff must plead more
 than labels, conclusions, or a formulaic recitation of the elements.

 For personal jurisdiction under Rule 12(b)(2), a plaintiff must show that the defendant had
 minimum contacts with the forum state and purposefully directed activities toward the
 forum. See International Shoe Co. v. Washington, 326 U.S. 310 (1945).

 IV. ARGUMENT


 A. The Complaint Fails to State a Claim Against Mr. Marier Individually
The TCPA imposes liability on those who "initiate" unlawful calls or "authorize" others to do
so. Courts have held that corporate officers are not personally liable under the TCPA unless
they personally participated in or knowingly authorized the conduct See Jackson v.
Caribbean Cruise Line, Inc., 88 F. Supp. 3d 129, 138 (E.D.N.Y. 2015).

Here, Plaintiff alleges no facts that Mr. Marier:
- Personally made any calls;
- Knew about the calls to Plaintiff;
- Directed or approved calls to DNC-registered numbers;
  Managed or instructed the employee who made the calls.

Instead, Plaintiff relies solely on Mr. Marier's title and general job description, which is
insufficient to pierce the corporate veil or to impose individual statutory liability.

B. Plaintiff Fails to Establish Personal Jurisdiction Over Mr. Marier
Mr. Marier resides in California and did not purposefully direct any conduct toward Texas in
his individual capacity. His job functions as COO/CFO were carried out in California. Plaintiff
alleges no facts connecting Mr. Marier personally to Texas. Naming a corporate officer
located In another state without specific conduct directed at the forum is insufficient to
establish personal jurisdiction.

Furthermore, Mr. Marier does not own property in Texas, has no assets located in Texas,
and to the best of his recollection, has never traveled to or conducted any personal activities
in the state. These facts further demonstrate that Mr. Marier lacks sufficient contacts with
Texas to support personal jurisdiction.
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 C. Plaintiff's Allegations Do Not Meet the Threshold for Willfulness
 To the extent Plaintiff seeks treble damages, he must allege willful or knowing misconduct
 The Complaint is devoid of any factual basis to support such an assertion. Even if company
 policy failed, the existence of procedures intended to ensure TCPA compliance negates any
 claim of willful misconduct by Mr. Marier.

 V. CONCLUSION
For the foregoing reasons, Defendant Ryan William Marier respectfully requests that the
Court grant this Motion to Dismiss all claims against him in Plaintiffs First Amended
Complaint, with prejudice.


Respectfully submitted,



Ryan William Marier, Pro Se

Address: 7403 Seashore Dr., Newport Beach, CA 92663

Email: Ryanm@secureonecapital.com

Phone: 714-608-1558

Date: 05/19/2025
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 aRIIFICATE OF SERVICE
 I hereby certify that on 05/19/2025.1 served a true and correct copy of the foregoing
 Motion to Dismiss by United States Mail and/or through the CM/ECF system upon the
 following:

 Mark Anthony Ortega
 P0 Box 702099
 San Antonio, TX 78270
 Email-   ortega@utexas.edu


 Ryan William Marier
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